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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

 VIRAL STYLE, LLC,

             Plaintiff,
 v.                                            Case No.

 IRON MAIDEN HOLDINGS LTD.
 and AM SULLIVAN LAW, LLC,

             Defendants.
                                      /

                               EXHIBIT A

                                    TO

                               COMPLAINT
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                                                                                                                               Sign Out


   Search

                           Shop By                                                              Start Selling




                                           Terms of Service
                       Please read carefully before using the services o ered by Viralstyle.com




Viralstyle provides users with an automated Internet-based service to design and sell t-shirts and other custom products.
By using Viralstyle and its services in any capacity, you have agreed to the terms and conditions of this Agreement and
agree to use the site and service solely as provided in this Agreement. For additional clari cation on these Terms of
Service, please refer to Viralstyle’s Frequently Asked Questions section.


User Agreement
By violating this User Agreement in any capacity, you are subject to an immediate removal of your campaign(s), possible forfeit of
pro t(s), and potential suspension or termination of your account.
Viral Style L.L.C. (“Viralstyle”) provides its website and related services to you (“Seller” or “you”) subject to this User Agreement (the
“Agreement”), the Intellectual Property Complaint Policy, the Counter-Notice Policy, the Repeat Intellectual Property Complaint Policy,
the Refund Policy, and the Privacy Policy (this Agreement and the foregoing policies collectively referred to as “Terms of Service”). All
of the terms and obligations set forth in the foregoing policies are incorporated by reference.

Arrangement between the Parties
Subject to the terms and conditions of this Agreement, during the Term, Viralstyle shall manufacture and deliver on behalf of Seller, the
merchandise as speci ed and arranged by Seller pursuant to this Agreement.
Ordering and Delivery Procedure
The ordering procedure with respect to the sale of merchandise shall be as agreed upon by the parties as provided on the website of
Viralstyle. Unless otherwise expressly agreed by the parties in writing, Viralstyle shall select the method of shipment of and the carrier
for the merchandise. Any time quoted for delivery is an estimate only; provided, however, that Viralstyle shall use commercially
reasonable e orts to deliver all merchandise on or before the requested delivery date. No delay in the shipment or delivery of any
merchandise relieves Seller of its obligations under this Agreement.

Print Variance
Product production is generated from the artwork uploaded and estimated positioning provided by the seller. Print size and exact
location may vary based on the product size. Colors are best matched to the artwork provided. Viralstyle may substitute comparable
products if stock becomes an issue. Exact print size, location, and colors are not guaranteed.
Price and Payment
Seller shall determine the price of the merchandise sold for each campaign, and Viralstyle shall retain from customer payment its
determined base price as the cost of goods sold (including any additional expenses and fees Viralstyle determines necessary to
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comply with the terms of this Agreement), and remit to Seller any amount in excess of such base price (“Seller Pro ts”). Any refunds,
returns, and/or chargebacks related to these sales are subject to being deducted from Seller’s current and future Seller Pro ts.

Marketplace
By allowing your campaign on the Viralstyle Marketplace, you are agreeing to allow Viralstyle to direct tra c to your campaign for a
Marketplace Fee when a sale is produced by Viralstyle, which will be deducted from your Seller Pro ts. This also gives Viralstyle
express permission to include your campaign in featured categories, emails, and any other marketing e orts, which is subject to the
same Marketplace Fee. If your campaign is available on the Viralstyle Marketplace at any point during the life of the campaign, it
becomes eligible for A liates to market your campaign with their A liate ID, all A liate sales are subject to A liate Fees. Once a
campaign is available to A liates this cannot be revoked as long as the campaign is live, removal from the Viralstyle Marketplace does
not remove A liate eligibility to that campaign. Viralstyle reserves the right to show or remove any campaign on the Viralstyle
Marketplace at any time, for any reason.

Seller Account and Security
You are responsible for maintaining the con dentiality of your password and account credentials, if any, and are fully responsible for
any and all activities that occur under your password or account. Please immediately notify Viralstyle of any unauthorized use of your
password or account or any other breach of security. Viralstyle reserves the right to terminate accounts, campaigns, and/or payouts
that are inactive or unclaimed for six (6) months or more.

Seller Account Misuse
If you repeatedly upload excessive amounts of data, engage in fraud or other illegal activity, fail to comply with the Terms of Service or
any other Viralstyle policies, or otherwise use the service in an excessive or unreasonable way, Viralstyle may, in its sole discretion,
cancel your campaigns, restrict or terminate your account, and/or withhold and disburse any proceeds associated with that account.


By creating a campaign on the Viralstyle site:
  1. You agree to accept and abide by Viralstyle’s Terms of Service in their entirety.
  2. With respect to any trademarks, service marks, or copyrights that you have licensed from the owner thereof (the “Licensed
  Rights”), you agree to comply with any restrictions or conditions imposed on the use of the Licensed Rights.
  3. You agree that you are the owner, or licensee, of all rights associated with any created or uploaded artwork or text, including but
  not limited to, the trademarks and copyrights that may be associated with said material. If you are not the owner, you agree to
  provide Viralstyle with evidence of the permission given to you by the owner.
  4. You agree that the description and title of the campaign do not, either in and of themselves or in addition to the text and images
  featured in the created merchandise, infringe upon the rights of any third party.
  5. You understand and agree that Viralstyle reserves the right to remove any content that may be considered to promote hate,
  violence, racial intolerance, or the nancial exploitation of a crime.
  6. You understand and agree that Viralstyle may, in its sole discretion, release your contact information to a third party that
  satisfactorily alleges, pursuant to Viralstyle’s Intellectual Property Complaint Policy below, unauthorized use of its intellectual
  property.
  7. You understand and agree that Viralstyle reserves the right, in its sole discretion, to remove any content at anytime, without cause.
  8. Upon receipt by Viralstyle of an allegation of infringement that comports with Viralstyle’s Intellectual Property Complaint Policy, in
  Viralstyle’s sole discretion, your campaign may be subject to immediate cancellation, possible forfeiture of any pro ts, and
  suspension or termination of your account with Viralstyle.
  9. You agree not to provide untrue information in your campaign including, but not limited to: the amount of product for sale, the origin
  of production of the product, or the intended recipient of pro ts.
  10. You agree not to solicit potential buyers through information posted in your campaign other than the purchase of the primary
  item(s). This includes ra es, chances to win, and other representations of additional opportunities beyond the sale of the primary
  item being sold.
  11. You agree to defend, indemnify, and hold Viralstyle and its a liates harmless from and against any and all claims, damages,
  costs, and expenses, including attorneys' fees, arising from or relating to your use of Viralstyle’s site and services, your violation of
  this Agreement, or your violation of any rights of another.
  12. You agree that Viralstyle is not responsible for any consequential, indirect, or any special damages, including, but not limited to,
  lost pro ts, associated with any action taken by Viralstyle pursuant to this Agreement or your use of the Viralstyle service.


Intellectual Property Complaint Policy
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Viralstyle prohibit users from using the service to sell merchandise that infringes upon third party intellectual property rights (such as
copyright, trademark, trade dress, and right of publicity).

Viralstyle will consider complaints of possible infringement only from parties that own, or have the exclusive right to exploit, said
intellectual property. Viralstyle is not in a position to adjudicate disputes. If you believe a campaign contains content that is not
authorized, upon receipt of the information enumerated below, Viralstyle will provide the campaign owner with your correspondence
and contact information and direct the campaign owner to contact you within seven (7) days to resolve this dispute. If the campaign
owner does not contact you, or if the issue is not resolved to your satisfaction, please let us know. In cases of an alleged infringement,
in our sole discretion, Viralstyle may take down the campaign and refund all buyers, provided that the conditions, below, are satis ed.
If you believe that your intellectual property rights have been infringed upon by a Viralstyle user, please notify Viralstyle at
legal@viralstyle.com. You must include within your noti cation the following information:

  1. A physical or electronic signature of a person authorized to act on behalf of the owner of the intellectual property that you allege is
  being infringed.
  2. The URL to the Viralstyle campaign(s) used in connection with the sale of the allegedly infringing merchandise.
  3. Identi cation of the copyright, trademark, or other rights that allegedly have been infringed, including proof of ownership (such as
  copies of existing trademark or copyright registrations).
  4. Your full name, address, telephone number(s), and email address(es).
  5. A statement that you have a good-faith belief that use of the material in the URL submitted is unauthorized by the rights owner, or
  its licensee, and such use amounts to infringement under federal or state law.
  6. A statement, under penalty of perjury, that the information in the noti cation is complete and accurate and that you are authorized
  to act on behalf of the owner of the intellectual property or other right that is allegedly infringed.


Counter-Notice Policy
If you believe that a claim of intellectual property infringement was led by mistake or misidenti cation you may le a counter-notice. If
you materially misrepresent in your counter-notice that your design is not infringing upon the intellectual property, you may be liable for
damages to the intellectual property owner (including costs and attorney’s fees). Therefore, if you are unsure whether or not the
material infringes on the intellectual property, please contact an attorney before ling the counter-notice. The counter-notice should be
submitted to legal@viralstyle.com and must include the following information:
  1. Your physical or electronic signature;
  2. Your full name, address, telephone number(s), and email address(es);
  3. Identi cation of the material and its location before it was removed, either by URL to the Viralstyle campaign(s) used in connection
  with the sale of the allegedly infringing merchandise or Viralstyle campaign number;
  4. A statement under penalty of perjury that the claim of intellectual property infringement that led to the removal or blockage of
  access to material was led by mistake or misidenti cation;
  5. Your consent to the jurisdiction of a federal court in the district where you live (if you are in the U.S.), or your consent to the
  jurisdiction of a federal court in the district where your service provider is located (if you are not in the U.S.); and
  6. Your consent to accept service of process from the party who submitted the takedown notice or an agent of that party.

If you submit a counter-notice, a copy of the counter-notice may be sent to the complaining party informing the complaining party that
Viralstyle may replace the removed material or cease disabling it in 10 business days. Unless the intellectual property owner les an
action seeking a court order against you, the removed material may be replaced or access to it restored in 10 to 14 business days after
receipt of the counter-notice.


Repeat Intellectual Property Complaint Policy
If Viralstyle receives repeated notices that you have posted others’ intellectual property without permission, Viralstyle may terminate
your account. Viralstyle has a system for keeping track of repeat violators of intellectual property rights of others, and determining when
to suspend or terminate your account.
Generally, when content is removed that you posted because the intellectual property owner of that content sent us a complete legal
request to do so, you will get an intellectual property strike. If you receive three intellectual property strikes within a one-year period,
your account will be suspended for a period of one month. If you receive four intellectual property strikes within a one-year period, your
account will be suspended for a period of three months. If you receive ve intellectual property strikes within a one-year period, your
account will be suspended for a period of six months. If you receive six intellectual property strikes within a one-year period, your
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account will be terminated.

If you submit a counter-notice in response to the intellectual property owner’s notice and that counter-notice is not answered by the
intellectual property owner, or if the dispute leads to legal proceedings that result in a court nding that you have not infringed the
owner’s intellectual property, Viralstyle will take away the strike that you were given for posting that content. Likewise, if the intellectual
property owner retracts his or her notice, Viralstyle will take away the strike.

Viralstyle reserves the right to terminate accounts that act against the spirit of the Terms of Service, regardless of how many strikes are
involved.

Viralstyle Respects the Prior, Legitimate Rights of the First to Publish a Campaign
Sometimes, later campaigns copy earlier campaigns that contain original artwork on our site. Our policy is that every original image or
design uploaded onto Viralstyle is protected against exact duplication, or use in a confusingly similar (trademark) or substantially similar
(copyright) manner.

Viralstyle will accept complaints and noti cation of possible infringement from customers that claim ownership of said original content
from an earlier campaign.
Once noti ed, Viralstyle, in its discretion, may remedy any alleged infringement by removing unauthorized content. Alternatively,
Viralstyle may notify the allegedly infringing party and provide a warning. Instances of further infractions can lead to possible
suspension or termination of the allegedly infringing party’s account.

For additional information regarding these policies, please reference Viralstyle’s Frequently Asked Questions section.
If you see a campaign containing your original image or design and would like to report it to Viralstyle, contact us at
legal@viralstyle.com with the following information:

  1. The URL(s) used in connection with the sale of the allegedly infringing merchandise; and
  2. The URL(s) of your campaign and date of rst use.


Withholding and Tax Matters
It is contemplated that the services and transactions described in this Agreement will not impose a withholding obligation upon
Viralstyle under Section 1442 of the Internal Revenue Code, as amended (the “Code”). Notwithstanding the foregoing, in the event
Viralstyle concludes that it has an obligation to withhold under Section 1442 of the Code (or other applicable law) with respect to Seller
Pro ts, Viralstyle will withhold all applicable income tax from any payments or Seller Pro ts otherwise due to Seller.
Seller shall be solely responsible for payment of its own tax liabilities which may arise under the Agreement, and shall indemnify
Viralstyle for any tax obligations, including for federal income tax withholding, which may arise as a result of this Agreement.


Indemni cation
Seller shall indemnify, defend and hold harmless Viralstyle and Viralstyle’s a liates, employees, o cers, directors, and agents from
and against all claims, demands, actions, suits, damages, liabilities, losses, settlements, costs and expenses (including attorneys’ fees)
which arise out of or relate to (i) any content submitted or posted by Seller, (ii) Seller’s use of, or connection with, Viralstyle’s website,
(iii) Seller’s violation of any of the terms of this Agreement or the Terms of Service, or (iv) Seller’s violation of any rights of a third party.
To secure Seller’s prompt and complete payment and performance of any and all present and future indebtedness, obligations and
liabilities of Seller to Viralstyle including with respect to any indemni cation arising out of the Agreement or the Terms of Service, Seller
hereby grants Viralstyle a security interest in all proceeds of the merchandise (including Seller Pro ts and insurance proceeds).
Viralstyle shall be entitled to all applicable rights and remedies of a secured party under applicable law.

IN NO EVENT SHALL VIRALSTYLE’S AGGREGATE LIABILITY ARISING OUT OF OR RELATED TO THIS AGREEMENT OR THE
TERMS OF SERVICE, WHETHER ARISING OUT OF OR RELATED TO BREACH OF CONTRACT, TORT (INCLUDING
NEGLIGENCE) OR OTHERWISE, EXCEED THE AMOUNT OTHERWISE OWED TO SELLER AS SELLER PROFIT.


Miscellaneous Provisions
Terms of Agreement Prevail Over Seller’s Campaign Purchase Order
The parties intend for the express terms and conditions contained in this Agreement (including any schedules and exhibits hereto), and
the pricing terms as set forth for each campaign, to exclusively govern and control each of the parties’ respective rights and obligations
regarding the subject matter of this Agreement, and this Agreement is expressly limited to such terms and conditions. Any attempt to
modify, supersede, supplement or otherwise alter this Agreement, will not modify this Agreement or be binding on the parties unless
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such terms have been fully approved in a signed writing by both parties.

Relationship of the Parties
Nothing in this Agreement or the Terms of Service creates any agency, joint venture, partnership or other form of joint enterprise,
employment or duciary relationship between the parties. Neither party has any express or implied right or authority to assume or
create any obligations on behalf of or in the name of the other party or to bind the other party to any contract, agreement or undertaking
with any third party.
Entire Agreement
This Agreement (and the Terms of Service) constitute the entire agreement of the parties with respect to the subject matter contained
herein, and supersedes all prior and contemporaneous understandings, agreements, representations and warranties, both written and
oral, with respect to such subject matter.

Assignment
Seller may not assign any of its rights or delegate any of its obligations under this Agreement without the prior written consent of
Viralstyle. Viralstyle may assign any of its rights or delegate any of its obligations hereunder in Viralstyle’s sole discretion.

Severability
If any term or provision of this Agreement (or the Terms of Service) is invalid, illegal or unenforceable in any jurisdiction, such invalidity,
illegality or unenforceability does not a ect any other term or provision of this Agreement (or the Terms of Service) or invalidate or
render unenforceable such term or provision in any other jurisdiction.
Governing Law; Venue
This Agreement and the Terms of Service shall be governed by the laws of the State of Florida, without giving e ect to the principles of
con icts of laws. Each party consents to the personal jurisdiction of the Federal, state, or local county courts located in Hillsborough
County, Florida. Each party agrees that any such court shall have in personam jurisdiction over such party and consents to service of
process by notice sent to the address set forth above and/or by any means authorized by law.
Waiver of Jury Trial
Each party waives any right it may have to a trial by jury in respect of any legal action arising out of or relating to this Agreement or the
Terms of Service.


Return Policy
Viralstyle works hard to ensure that all our campaigns are printed to high-quality standards & shipped on time and accurately. Viralstyle
accepts returns and will issue a refund or replacement within 30 days of the end of the campaign or 10 days of the delivery (whichever
is later) for any of the following reasons (with visual con rmation): The product itself is awed; the quality of the printing is poor; or if the
  nal product is materially di erent than the design presented in the campaign. If your purchase meets any of the criteria above, please
contact Viralstyle at support@viralstyle.com.

API Orders (3rd Party Applications)
Any claims for misprinted/damaged/defective items must be submitted within 30 days of the receipt of the product. Claims found to be
an error on our part will be eligible for refund or replacement at our expense.


API (Shopify) Policy
Overview
All material on any Viralstyle API Applications (i.e. Shopify App) is the property of Viralstyle. All rights reserved. The information and
images presented may not under any circumstances be reproduced or used without prior written permission. Seller may not use
language that is threatening, abusive, vulgar, discourteous or criminal. Seller also may not post or transmit information or materials that
would violate rights of any third party or which contains a virus or other harmful component. Viralstyle reserves the right to remove or
edit any messages or material submitted by Sellers.

Viralstyle integrates all information, tools, and services through 3rd Party Platforms (i.e. Shopify) to bene t the Seller upon acceptance
of all terms, conditions, policies, and notices herein. By accessing or using any part of the Viralstyle application and/or purchasing
merchandise through Viralstyle, the Seller engages in Viralstyle service and agrees to be bound by the following Terms of Service. All
of the terms and obligations set forth in the foregoing policies are incorporated by reference. These Terms of Service apply to all Sellers
of the Viralstyle application, including without limitation: Users who are browsers, Viralstyle, customers, Sellers, and/or contributors of
content.
If Seller does not agree to all terms and conditions of this agreement, Seller may not access the application and website, or utilize any
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Viralstyle services.

Any and all new Viralstyle application features and/or tools added are subject to the current Terms of Service. The most current version
of the Terms of Service is available at any time on this page. Viralstyle reserves the right to update, change or replace any part or
part(s) of these Terms of Service by posting updates and/or changes to the company website. Viralstyle is not responsible for directly
updating any Seller, or “3rd Party Customer” (or “Buyer”), of aforementioned updates. Continued use of, or access to, the Viralstyle
Application following the posting of any service modi cations constitutes acceptance of any updates to the Terms of Service. Viralstyle
does not handle and is not responsible for any Seller services including payment processing, returns, refunds, or exchanges. Viralstyle
is not responsible for Sellers customer service. This agreement is e ective until terminated by either party. Seller may terminate this
agreement at any time by discontinuing his/her use of the Viralstyle Application and destroying all materials obtained from it.
Refunds / Returns / Exchanges
Any claims for misprinted/damaged/defective items must be submitted by the 3rd Party Customer to Viralstyle via the 3rd Party
Platform Seller within 30 days of receipt of the product. If the product itself is awed; the quality of the printing is poor; or if the nal
product is materially di erent than the design presented on the Viralstyle Application, Viralstyle will reprint & reship the new product to
the 3rd Party Customer at no additional charge. Viralstyle requires visual con rmation (photographic evidence) from the 3rd Party
Customer to verify the claim. Viralstyle will not process any claims without visual con rmation.

If the 3rd Party Customer is not satis ed with his/her purchase, though there is no physical defect with the product, the Seller is
responsible for handling the issue with the 3rd Party Customer directly if he/she wishes to do so. Viralstyle does not process or handle
refunds, returns, reships or exchanges due to generalized dissatisfaction of Customers without defect.
The Seller is responsible for adding his/her business address to the Viralstyle application manually. If the Seller does not to add his/her
business address and the product is returned to Viralstyle, Viralstyle is not responsible for the reshipment or refund of your production
and/or shipping costs.
Lost / Stolen
Viralstyle does not guarantee domestic and/or international shipments nor handle returns or exchanges. Certain countries are
considered "high risk" for issues such as lost or stolen and/or lost-in-transit shipments. Shipping Viralstyle products domestically &
internationally are at the sole risk of the Seller. Viralstyle is not liable for shipments that do not deliver successfully.
International: Certain countries do not provide international tracking once the shipment has left the United States. If Seller experiences
a lost or delayed shipment, Seller should ask the 3rd Party Customer to reach out to their local post o ce to inquire about which carrier
UPS connects to in their country. Viralstyle is not responsible for providing a list of aforementioned countries nor contacting the third-
party carrier on the Seller’s or 3rd Party Customer's behalf.
Printing & Production
Viralstyle prohibits Sellers from using the service to sell merchandise that infringes upon third party intellectual property rights (such as
copyright, trademark, trade dress, and right of publicity). Merchandise production is generated from the artwork and mock-up provided
by the Seller (3rd Party Platform seller). Print size may vary based on the individual product size. Colors are best matched to the
artwork, and Viralstyle may substitute comparable products if stock becomes an issue. Exact print size, location, and colors are not
guaranteed. Seller is responsible for checking his/her "Action Required” tab within 3rd Party Platform and it is Seller’s responsibility to
take manual action if there is an address or payment issue. It is the sole responsibility of the Seller to rectify the issue manually before
Viralstyle can continue with production. Viralstyle is not responsible for orders that are not processed due to these aforementioned
issues.

These Services are operated and provided by Viral Style L.L.C. If you have any questions about these Terms, please contact Viralstyle
at support@viralstyle.com.

Updated 06/01/2017




    Company
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($) United States




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